         Case 1:20-cv-03742-RC Document 22-1 Filed 01/14/21 Page 1 of 4




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 FEDERAL CAPITAL HABEAS
 PROJECT; KENNETH BARRETT;
 DUSTIN HIGGS; NORRIS HOLDER; and
 REJON TAYLOR                                             Case No. 1:20-cv-3742 (RC)

                    Plaintiffs,
 v.

 JEFFREY A. ROSEN, in his official
 capacity as Acting Attorney General of the
 United States; and MICHAEL CARVAJAL,
 in his official capacity as the Director of the
 Federal Bureau of Prisons
                    Defendants.


                              DECLARATION OF RICK WINTER

I, Rick Winter, do hereby declare and state as follows:

1.     I am employed by the United States Department of Justice, Federal Bureau of Prisons

       (“BOP”), as Regional Counsel for the BOP’s North Central Region. I have held this

       position since October 2016. I have been employed by the BOP since 1994.

2.     The statements I make hereinafter are made on the basis of my review of the official files

       and records of the BOP, my own personal knowledge, or on the basis of information

       acquired by me through the performance of my official duties.

3.     The BOP, under the supervision of the United States Marshals Service, is responsible for

       implementing and otherwise making the necessary preparations to carry out federal death

       sentences. See 18 U.S.C. § 3596(a); 28 C.F.R. Part 26. I was present for the execution of

       Lisa Montgomery on January 13, 2021.

4.     I am aware that an issue has been raised in this case, regarding John Francisco, Ms.



                                                   1
      Case 1:20-cv-03742-RC Document 22-1 Filed 01/14/21 Page 2 of 4




     Montgomery’s Minister of Record (MOR), not being allowed in the execution room for

     Ms. Montgomery’s execution.

5.   BOP has no record of Ms. Montgomery asking for Mr. Francisco to be present in the

     execution room; and no such request from Mr. Francisco, until moments before the

     execution began.

6.   Prior to Ms. Montgomery’s originally scheduled execution date of December 8, 2020, Ms.

     Montgomery’s counsel provided BOP the appropriate form listing witnesses to attend Ms.

     Montgomery’s execution. In the row for “clergy,” the form listed Mr. John Francisco. See

     Attachment 1.

7.   After the form was completed, staff at the Federal Medical Center in Carswell, Texas (FMC

     Carswell), where Ms. Montgomery was housed up until January 11, 2021, had multiple

     conversations with Ms. Montgomery regarding her execution. FMC Carswell has no record

     of Ms. Montgomery requesting that Mr. Francisco be in the execution room.

8.   In the weeks leading up to the execution, staff at FCC Terre Haute communicated with Mr.

     Francisco regarding logistics for witnessing Ms. Montgomery’s execution. FCC Terre

     Haute has no record that Mr. Francisco made any request during those conversations to be

     present in the execution room for Ms. Montgomery’s execution. To the contrary, at one

     point in those communications, Mr. Francisco acknowledged to FCC Terre Haute’s

     Chaplain that he was aware that Ms. Montgomery did not want him to be in the execution

     room. Additionally, on January 12, 2021, Mr. Francisco spent several hours in the presence

     of BOP staff, waiting for the execution, which had been scheduled for 6:00 p.m. that day.

     During those hours, he did not make any request to be inside the execution room for Ms.

     Montgomery’s execution.

9.   On the afternoon of January 12, 2021, a BOP official briefed Ms. Montgomery on the

                                             2
       Case 1:20-cv-03742-RC Document 22-1 Filed 01/14/21 Page 3 of 4




      logistics of the execution. During that conversation, among other things, it was discussed

      with Ms. Montgomery that Mr. Francisco would witness the execution from the witness

      room, and not from inside the execution room. Ms. Montgomery did not voice any concern

      with Mr. Francisco witnessing from the witness room, nor did she indicate that she wanted

      him to be in the execution room.

10.   Due to legal impediments, the execution which had been scheduled for January 12, 2021,

      at 6:00 p.m., was delayed until the early morning hours of January 13, 2021.

11.   After the legal impediments were cleared, Ms. Montgomery was taken from the execution

      facility holding cell to the execution room and restrained to the execution table. Witnesses

      were then escorted to their respective witness rooms, which are staffed with BOP

      personnel.   Mr. Francisco was taken to the inmate witness room, along with Ms.

      Montgomery’s other witnesses. All witness rooms were then secured.

12.   Moments before the execution began, Mr. Francisco indicated to BOP staff in the witness

      room that he thought he would be witnessing from inside the execution room.

13.   Staff in the witness room immediately informed me of the request. However, at that time

      the execution proceeding was already moving forward, and the curtains for the various

      witness rooms were about to be raised. Therefore, it was determined the execution

      proceeding should not be interrupted in order to accommodate Mr. Francisco’s last-minute

      request. Interrupting the proceeding would have caused confusion amongst witnesses,

      staff, and perhaps Ms. Montgomery as she had been fully briefed on the logistics, which

      did not include Mr. Francisco being present in the execution room. Moreover, escorting

      Mr. Francisco to the execution room would have required additional staff to be called to

      unsecure the witness room, then escort him through several secure doors into the execution

      room, all of which would have increased the amount of time Ms. Montgomery remained

                                               3
Case 1:20-cv-03742-RC Document 22-1 Filed 01/14/21 Page 4 of 4
